                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN


KATHRYN KNOWLTON, et al,

        Plaintiffs,

        v.                                                    Case No. 20-CV-01660

CITY OF WAUWATOSA, et al,

        Defendants.


     PLAINTIFFS’ RESPONSE TO DEFENDANTS’ DECLARATION FOR ATTORNEYS FEES


        Plaintiffs, by their undersigned attorneys, respectfully submit this Response to Defendants’

Attorneys’ Declaration of Attorneys Fees (“Declaration”) filed on September 9, 2022, ECF #194.

I.      Per Lodestar, Defendants’ Attorneys’ Declaration Accounting is Unreasonable

        “As with all requests for attorney's fees, the Court applies the lodestar analysis. Gastineau

v. Wright, 592 F.3d 747, 748 (7th Cir. 2010). The lodestar ‘is calculated by multiplying a

reasonable hourly rate by the number of hours reasonably expended.’ Id. (emphasis added)”

Strohbehn v. Weltman Weinberg & Reis Co., No. 16-CV-985-JPS, at *4 (E.D. Wis. Apr. 27, 2018).

        1. Number of Hours Claimed by Defendants’ Counsel is Unreasonably Excessive

        Per Defendants’ Counsel in ECF #57, filed just over a year ago:

               A good faith effort must be made to exclude excessive, redundant, or unnecessary
        hours and the Court must exclude hours it deems inadequately documented or not
        reasonably expended on the litigation. Id. at 433-34; Spegon v. Catholic Bishop of Chi.,
        175 F.3d 544, 550 (7th Cir. 1999); see also Thompson v. City of Chicago, 2011 WL
        2837589, at *4 (N.D. ILL. Feb. 14, 2011)(holding that “the court may reduce the award
        where the description of the work performed is inadequate.”). Attorney activities that are
        unnecessary, excessive, or vague will be excluded from an award of fees. Hensley at 434;
        Johnson at 931 (7th Cir. 2012); Thomson at *4.



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ECF #57 at p.7.

       63.8 hours is excessive for the task of drafting, even to finality and filing, a single

sanctions motion. The Rule 11 motion, for which Defendants are awarded and claim to itemize

their fees, is in large part a direct recitation of Defendants’ arguments contained in their motion

to dismiss, thus it is duplicative. Significantly, Defendants filed their Rule 11 Motion two (2)

days after, and most assuredly using the identical legal research and argument as their Motion to

Dismiss. This juxtaposition seriously calls into question the validity of the excessive number of

hours claimed herein, evidencing them as duplicative, rather than specifically allocated to the

Rule 11 motion for which the fees award was ordered.

       This Court has confirmed the appropriate reduction for hours which are duplicative, in

citing to Jardien v. Winston Network, Inc., 888 F.2d 1151, 1160 (7th Cir. 1989), in that the

“tendency of law firms to overstaff a case should cause the trial court to scrutinize a fees petition

carefully for duplicative time.” (ECF #111 at p.2).

       Additionally, “[h]ours can be excessive if they are disproportionate to the number of hours

normally associated with the task performed. See 1 Alba Conte, Attorneys Fee Awards § 4:25 (3d

ed. 2010).” Milwaukee Deputy Sheriffs Association v. Clarke, No. 06-C-602, at *2 (E.D. Wis.

June 14, 2010). As the appropriate structure of a motion demands recitation of the rule and

standard, it is relevant to point out that the entire Rule 11 motion submitted by Defendants was

eleven (11) pages in totality, where 3 pages included re-printing the verbiage of Rule 11, the legal

standards and case law. The remaining 7+ pages were directly related to work generated for, and

contained in Defendants’ motion to dismiss. Considering the limited substance, as well as the

limitations of the award for sanctions on only some grounds presented in Defendants’ motion,




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and none with a finding of bad faith, 63.8 hours is not a reasonable amount “normally associated”

with a writing task of this kind and caliber.

        In light of the exorbitant number of hours reported for this single motion, even including

a reply, such excessive numbers for the same work product require meaningful reduction.

        2. Descriptors of Hours Claimed by Defendants’ Attorney are Impermissibly
           Vague

        The invoices attached to the declaration of Attorney Zellner simply do not adequately

describe, nor account for 63.8 hours of work attributable to the specific Rule 11 sanctions motion

as ordered. Over 43 hours of the 63.8, specifically clocked only by Attorney Zellner, are

described merely as “draft/research/continue to draft/finalize/reply to Rule 11 Motion for

Sanctions” and/or some combination thereof. Such vague descriptors specifically meet the

standard for elimination and reduction as explained in Thompson v. City of Chicago, 07 C 1130,

(N.D. Ill. July 18, 2011), where,

               a few entries lack adequate explanation. The few state that the attorney/paralegal
        "reviewed" documents or depositions, but lack sufficient description of the documents
        that would allow the Court to determine whether the attorney/paralegal's time was
        reasonably expended. (Id. Ex. A, Time Entries at 10/3/09, 10/4/09 for Smith Antholt
        ("reviewing documents and deposition notes for witness list"), 4/6/08, 4/11/08 for
        Baranyk ("review of produced documents"); 11/6/07, 4/6/08, 4/8/08, 4/9/08, 4/10/08,
        4/11/08, 4/14/08, 4/16/08 for Kosglad ("reviewing documents"); 10/28/08 for paralegal
        Breed ("review and file documents").)



Id. at 4-5.

        And, “[m]oreover, if any time entry is too vague or otherwise inadequate to allow an

assessment of reasonableness, the court may disregard it. Harper v. City of Chi. Heights, 223

F.3d 593, 605 (7th Cir. 2000); Lopez v. City of Chi., No. 01 CV 1823, 2007 WL 4162805, at *5



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(N.D. Ill. Nov. 20, 2007) ("[T]he applicant for fees must provide sufficient description of the type

of work performed."), Thompson at 4.

       Plaintiffs make no argument as to the reasonableness of the reported hourly rate, but the

number of hours is undoubtedly excessive and redundant, and though that may explain the use of

such vague descriptors (in itself a proper basis to eliminate and reduce), all of it demonstrates

unreasonableness. It is necessary and proper for this Court to make a reduction.

                                              CONCLUSION

       Rule 11’s goal of deterrence, along with the broad discretion it authorizes, is firmly

established and explicit. As cited by this Court’s order, “[t]he rule states that:

               A sanction imposed under this rule must be limited to what suffices to deter
               repetition of the conduct or comparable conduct by others similarly situated.
               The sanction may include nonmonetary directives; an order to pay a penalty
               into court; or, if imposed on motion and warranted for effective deterrence, an
               order directing payment to the movant of part or all of the reasonable attorney’s
               fees and other expenses directly resulting from the violation.

Rule 11(c)(4). Rule 11’s purpose is punitive rather than compensatory, and the goal of a Rule

11 sanction is specific and general deterrence. Brandt v. Schal Assocs., Inc., 960 F.2d 640, 645

(7th Cir. 1992).” ECF #191 at p. 2-3.

       Plaintiffs acknowledge and regret specifically their error of not adequately responding to

the “safe harbor” letter directly and in writing, to Defendants’ Counsel. This is especially

significant as per the Order, the suggested insertions of “upon information and belief” would have

ameliorated five of the six bases upon which Your Honor granted sanctions. Even if the resulting

pleadings may have remained unaltered, the undersigned confirms with all sincerity and adamantly

that such a mistake will not occur again.

       It is vital to the integrity of the process, as well as proper and appropriate that the Court

consider the totality of the circumstances, as well as the goal of Rule 11 sanctions: “Rule 11 was

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designed to curb, not destroy, the advocate's zeal.” Mazurczak, Michael J., Critical Analysis of

Rule 11 Sanctions in the Seventh Circuit, 72, Marquette Law Rev. 1988; that there is no finding of

bad faith, or any egregiousness personally attributable as abuse of process or malicious, willful

deceit – as indeed, there is none in fact.

       Thus, Plaintiffs respectfully request that the excessive number of hours be reduced to a

reasonable amount, reflecting both the reality of Defendants’ shared resources, research, time and

argument with the almost simultaneously filed Motion to Dismiss, amounting to less than half of

the total claimed hours, and including additional elimination and reduction for improperly vague

descriptions, culminating in the unreasonable request by Defendants’ counsel as to amount of

applicable fees.

       Respectfully submitted this 26th day of September, 2022.

                                              COUNSEL FOR PLAINTIFFS

                                              By: /s/ Kathryn L. Knowlton
                                              Kathryn L. Knowlton, WI State Bar No. 1032814
                                              Knowlton Law Group, LLC
                                              7219 West Center Street
                                              Wauwatosa, WI 53213
                                              Telephone: (414) 202-2444
                                              Email: kate@knowltonlawgroup.com

                                              s:/ Kimberley Cy. Motley, Esq.
                                              WI State Bar No. 1047193
                                              Motley Legal Services
                                              2206 Bonnie Butler Way
                                              Charlotte, North Carolina 28270
                                              Telephone : (704) 763-5413
                                              Email : kmotley@motleylegal.com

                                              /s/ E. Milo Schwab
                                              E. Milo Schwab
                                              2401 S Downing Street
                                              Denver, CO 80210
                                              Telephone : (732) 406-8215
                                              Email : milo@ascendcounsel.co

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